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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 W
 UNITED STATES OF AMERICA,
                                                 *       CRIMINAL NO. LO-19-0449
        V.



 KENNETH WENDELL RAVENELL,
 JOSHUA REINHARDT TREEM,and
 SEAN FRANCIS GORDON,

        Defendants.
                                               *******




                                               ORDER




       Upon consideration of the Defendants' Motion for Discovery Order and responses thereto,

and for the reasons set forth in the Government's Response, it is this 1"^ day of
2021, hereby ORDERED that

       1.      The defendants shall make disclosure, pursuant to Fed. R. Crim. P. 16(a)(1)(G) and

16(b)(1)(C), no later than sixty (60) calendar days after entry of this Order, of a written summary

of testimony any defendant intends to use under Federal Rules of Evidence 702, 703, or 705, as

evidence at trial. This summary shall describe the witnesses' opinions, the bases and reasons

therefor, and the witnesses' qualifications.

       2.      No later than sixty (60) calendar days after entry of this Order, the defendants

Ravenell and Gordon shall produce for inspection and copying pursuant to Fed. R. Crim. P.

16(b)(1)(A) and (B) any items that are (1) within the possession, custody or control of said

defendant, and (2) said defendant intends to use in that defendant's case-in-chief at trial.



                                                      The Honorable^iam Y'Orady
                                                       United States DistrTct-Court Judge
